                      Case 2:13-cr-00067-WKW-KFP Document 146 Filed 02/28/14 Page 1 of 7

AO 24515        (Rev. 09 11) Judgment in i Criminal Ciiae
                 Slieni I



                                                UNITED STATES DISTRICT COURT
                                                            MIDDLE DISTRICT OF ALABAMA

                UNITED STATES 01: AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                       V.

                            GLENN POWELL, JR.                                        Case Number: 2:13cr067-05-WKW

                                                                                      t:si NuiiIer 14461-002

                                                                                      Crowell Pete DeBardeleben
                                                                                      !)atcItLIanL     Aiiiiiiic
THE DEFENDANT:
   p]cadcd giilty 10 count(s)                22 of the Indictment on 05/16/2013
Lii pleaded 11010 conteriderc to count(s)
     luch was accepted by the court.

Ill was found guilty on count(s)
   a (icr a plea of aol guilty.

The defendant is adjudicated gritit y of these OffeIlSL's:

Title & section                        Nature of 011ense                                                           Offense Ended      Count

 18:641                                 Theft of Public Money                                                       04/27/2010         22




   r)Lc add iliotla I count(s) ) on page 2


       The defondarit is sentenced as provided tim pages 2 throu g h 6 of this judgment. the sentence is imposed pursuant to the
Seimienci ng Reform Act of 1994.

El The defendant has been found not guilty on count(s)

   (:ouut(s) 1,23-24                                          D is 511rc dismissed. oil motion of the United States

          It is ordered that the defendant nuL rmotil y the United States attorney for this disirici within 30 days of any change of iiamc, residence,
orniatljim itrtdiess until all lin, restitution. Cols, and special assessments imposed b y tins judgment are full y paid I furdered to pay restitution.
the defendant must notifs the court and United State ,, attorne y of material changes in econonlie cireimmstaiices

                                                                            02/06/2014
                                                                            rkiw a lmnj,a. I Oil 01 Judirieiu




                                                                             Signature at .iudge

                                                                            W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                            Name ii Judge                   Fate aJimldge
                                                                                                   1




                                                                               ..7/jZ-5// 4f
                        Case 2:13-cr-00067-WKW-KFP Document 146 Filed 02/28/14 Page 2 of 7

AO 2450           (Rev 091 1) Judgment in a Criminal Case
 I                 Shec 2 - linpri mnii ciii

                                                                                                                        Judgment Page 2 of 6
     DEFENDANT: GLENN POWELL, JR.
     CASE NUMBER: 2:13cr067-05-WKW


                                                                     IMPRISONMENT

              The defendant is hereby committed to the custody of the United Stales Bureau of Prisons to be imprisoned for a
     total term of:
         12 Months, I Day




           Wf The court makes the l] Iot ing recommcndation to die Bureau a I Prisons:

     The Court recommends that defendant be designated to a facility as close as possible to Montgomery, Alabama.




           LI The defendant is remanded to the custody of the United States Marshal.


           LI The defendant shall surrender 10 the United States Marshal for this district:

               F] at                                        LI am.      LI pm.         on -.

               LI as noti lied by the United States Marshal.

               The defendant shall surrender for ser ice oC sentence at the institution designated by the Bureau of Prisons:

                    bekire 2:00 PM                               14
               LI as notified by he United Slates Marshal.

               LI as notified by the Probation or Pretrial Services Office.



                                                                           RETURN
     I have eecutcd this judgment as 1611(m s:




               Defendant delivered on                                                            to

     a                          -                            . with a certified copy ofthis judgment.




                                                                                                           UNITED STATES MARSHAL


                                                                                  By
                                                                                                        DEPUTY UNITED STATES MARSHAL
                            Case 2:13-cr-00067-WKW-KFP Document 146 Filed 02/28/14 Page 3 of 7

    At) 24513          (Rev 09/11) .iuJg]nenL in u Crirniiial Case
    V1                 Sheet 3 - Supervised Relcasc

                                                                                                                                 Judgment Page: 3 of 6
     DEFENDANT: GLENN POWELL, JR.
     CASE NUMBER: 2:13cr067-05-WKW
                                                                     SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall he on supervised release br a term of
         3 Years


             The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
     custody of the Bureau o Prisons.
     The defendant shall not commit another federal, stale or local crime.
      [he defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawl'ul use of controlled
     substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
     thereafter, as determined by the court.
                The above dru g testing condition is suspended, based on the court's determination that the defendant poses a low risk of
                bulure substance abuse. (Check, fapplicable.)

                The defendant shall not possess a firearm. ammunition, destructive device, or any other dan g erous weapon. (Check, ,/app/,cub/e)

                [he defendant shall cooperate in the collection of DNA as directed b y the probation officer. (Chuck, ;//p/iccthle)

                The defendant shiJ! compk v tb the rcLlui'emenls 00 the Se.v Offender Registration and Notihcarion Act (42 U.S.C. 16901, et seq.)
                as directed h the probation officer. lie Bureau of' Prisons, or a n y state sex offender registration aecnev in which he or she resides.
                sorks. is a s(udcnt, or v as conk icted of a quali f ing offense. (Chuck, lluppb   lv)

                The defendant shall participate in an approved program for domestic violence. (Check, fpp//ccthJe.)

                 If this jLdgment imposes a fine or restitution. it is a condition ol supervised release that the defendant pay in accordance with the
         Schedule of Payments sheet of thi sj u dgment.
               The defendant must comply with the standard conditions that hwc been adopted by this court as well as with any additional conditions
     on the attached page.

                                                     STANDARD CONDITIONS OF SUPERVISION
I   )            the defendant shall not leave the judicial district without the permission of the court or prohation officer;
           2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
           3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
          4)     the defendant shall support his or her dependents and meet other family responsibilities;
           5)    the defendant shall work regularly at 1av!iil occupation, unless excused by the probation officer for schooling, training, or other
                 acceptable reasons;
           6)    the defendant shall notify the probation officer at least ten days prior to any chan g e in residence or employment;
           7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
                 controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician:

            )    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           9)    the defendant shall not associate with any persons engaed in criminal activity and shall not associate with any person convicted of
                 felony, unless granted permission to do so by the probation officer;

          10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
                 contraband observed in plain view of the probation officer:
           I) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law eniorcenent officer:
          12) the defendant shall not enter into any agreement to act as an Informer or a special agent of a law enforccmnt agency without the
                permission of'the court; and

         H)      as directed by the probation officer, the defendant shall noti' third parties of risks that may be occasioned by the defendant's criminal
                 record or personal history or characteristics and shall permit the probation officer to make such noli tications and to conlirm the
                 defendant s compliance svith such notification requirement.
                    Case 2:13-cr-00067-WKW-KFP Document 146 Filed 02/28/14 Page 4 of 7

AO 245B        (Rev. 09/1 1) Judgment in u Criminal Case
V1             Sheet 3C - Supervised RIense

                                                                                                            Judgment Page: 4 of 6
 DEFENDANT: GLENN POWELL JR.
 CASE NUMBER: 2:13cr067-05-WKW

                                             SPECIAL CONDITIONS OF SUPERVISION
     Defendant is to pay $141100 a month in child support and is to provide the probation officer with a receipt of the payments.

     Defendant shall provide the probation officer any requested financial information.

     Defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.
                     Case 2:13-cr-00067-WKW-KFP Document 146 Filed 02/28/14 Page 5 of 7

AO 245B         (Rev. 09' I) Jud g ment in a ('nminal Case
0               Sheet      Cruninal Monetary Penalties

                                                                                                                            Judgment Page: 5 of 6
    DEFENDANT: GLENN POWELL, JR.
    CASE NUMBER: 2:13cr067-05-WKW
                                                    CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule ol payments on Sheet 6.


                          Assessment                                             Fine                             Restitution
    TOTALS            $ 100,00                                               s                                  $ $53,147.71



    fl The determination of restitution is deferred until -                         An Amended Judgment in a Criminal Case (no 245C) will he entered
        after such determination.

         [he defendant must make restitution (including communit y restitution) to the following payees in the amount listed belo.

        If the defendant makes a partial pavnlerit, each pa y ee shall receive an approNilnately proportioned pay ment, unless specilied otherwise in
        the prioI'it order or perecnta.e pa. inent column 'Iselow. 1 lowever. pursuant to 18 U . S.C. § 3664(1), all nonfederal victims must be paid
        before the United Slates is paid.

    Name of Payee                                                        Total Loss*                 Restitution Ordered Priority or Percentage

     I RSRACS                                                                                                  $5314711

     Attn: Mail Stop 6261, Restitution

     333 W. Pershing Avenue

     Kansas City, MO 64108




 TOTALS                                                                                      $0.00             $53,147.71



 E       Restitution amount ordered pursuant to plea agreement S

         The defendant must pay interest on reslilution and a fine cit more than $2,500, unless the restitution or line is paid in full before the
         fifteenth day after the date of the judemcnt, pursuant to 18 U.S.C. § 3612(l). All of the payment options on Sheet 6 may be subject
         0 penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

         The court determined that the defendaiil does not have the ability to pay interest and it is ordered that:

             the interest requirement is waived for the             E fine        " restitution.

         E the interest requirement for the                  fine        restitution is modilied as follows:




 * Findings for the total armunl of losses are required under Chaiers 109A, 110. 1 bA, and 113A of Title [8 for oufensescommitted on or after
 September 13. 1994, but before April 23, 1996.
                  Case 2:13-cr-00067-WKW-KFP Document 146 Filed 02/28/14 Page 6 of 7

AO 245B        Rev 09 11   Pu Ug Bell L a a tn ml lu i Casc

 I            Sheet b - ScheJEe al Puvneriis


                                                                                                                       Judgment Page: 6 of 7
 DEFENDANT: GLENN POWELL, JR.
 CASE NUMBER: 2:13cr067-05-WKW


                                                              SCHEDULE OF PAYMENTS

 I la y ing assessed the defendant's ability to pay. pa y ment at the total criminal monetary penalties is due as lbllss:

 A        " Lump sum payment ol'S 53247.71                          due ILrLIllcdiately, balance due

                  not later than                                         or
              ' in accordance                El C,             B,        L, or     51 F below; or
 I]         Payment to begin immediately (may be combined with                     C.           D, or   F below); or

 C    71 Payment in equal                        (e,g weekly, monthly, quwerly installments of                              over a period o
                      (v'g.. nionths orveiirs), to commence                   (eg . 30 or 60 lovs) alter the date of this judgment: or

 D          Payment in equal                       - - g wekli-. monthly, quaHeilt) iisla]lmcnts of $                        over a period of
            -            (a g months or y ears,). to commence                     (cg. 30 or 60 Javs) alter release from imprisonment to a
            term of so per 5:00: or

 E          Payment during the term of supervised release ill commence within                      (e.g., 30 or 60 Jays) after release from
            impri soil men L. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    V Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101. Any balance ot'reslitution remaining at the start of supervision shall be paid
            at the rate of $100.00 per month.




 linless the court has cxprcssls ordered üilier•i sc. if thisjudgment imposes imprisonment, payment at' crirrinal monetar y penalties is due during
 imprisonment. All crimnal ft onclars penalties. exec pt those pas ments made thiough the Federal Bureau of Prisons' Inmate Finne iat
 Responsibility Prow-um. arc made to the clerk at the court.

The delindunt shall i'cccivc credit liar all payments PICN iously made toward any criminal monetary penalties imposed.




      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount. Joint and Several Amount,
      and corresponding payee, if appropriate.

      The victim is entitled to only one recovery, from whomever received. In other words, the victim is not allowed to
      receive compensation in excess of its loss.     (SEE PAGE 7)



Ll    The defendant shall pay the cost ot . prosecution.

El    the defendant shall pay the following court cost(s):

Ll    The defendant shall forfeit the defendant's interest in the following property to the United Stales:




Payments shall he applied in the tblloveing order: (I) assessment, (2) restitution principal. (3) restitution interest. (4) fine principal,
(5) line interest, (6) community restitution, (7) penaliies, and (S) costs, including cost of prosecution and court costs.
                   Case 2:13-cr-00067-WKW-KFP Document 146 Filed 02/28/14 Page 7 of 7


  nO 2513     (Rev 09/11) .iidgiveni in a ('rinmial Case
  V1          Sheet ÔA - Sihdu1e olPayments

                                                                                                           Judgment Page: 7 ol'7
  Dl•:FFNDANT: GLENN POWELL, JR.
  ('Al: N1JMBLR: 2 I3cr067-0WKW


            ADDITIONAL DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL
  Case Number
  Defendant and Co-Defendant Names                                        Joint and Several        Corresponding Payee,
  (includin g defendant numher                             Total Amount          Amount                if appropriate

 Glenn Powell, Jr.                                                                            IRS-RACS
$53,147.71
 2:1 3cr067-05.WKW                                                              $53,147.71


  Tarrish Tellis                                                                              IRS-RACS
$364,242.51
  2:13cr067-01-WKW                                                             $364,242.51
